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                           UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF VIRGINIA
                                   (Alexandria Division)

   ---------------------------------------------------------------X
   In re:                                                         :   Chapter 11
                                                                  :
   Martin Alan Burke                                              :   No. 18−13979−BFK
                     Debtor.                                      :
                                                                  :
   ---------------------------------------------------------------X

    FINAL REPORT AND MOTION FOR FINAL DECREE AND TO CLOSE CASE

           COMES NOW Martin Alan Burke (the “Debtor”), the reorganized debtor herein,

   by his undersigned counsel, and submits this Final Report and Motion for Final Decree

   and to Close Case (the “Motion for Final Decree”). Contemporaneously herewith, the

   Debtor is also submitting a Final Account that should be considered in evaluating the

   Debtor’s Motion for Final Decree.

           1.       On November 27, 2018 (the “Petition Date”), the Debtor commenced this

   voluntary chapter 11 bankruptcy case.

           2.       The Debtor is an individual resident of Loudoun County, Virginia (Fairfax

   County as of the Petition Date).        He is employed as the president of Integrated Solutions

   Management, Inc., a privately-held technology company in which he is also a shareholder.

   The Debtor resides in a home that he rents, having sold his prior home during the case to

   reduce expenses.

           3.       By Order entered February 26, 2020, (the “Confirmation Order”), the

   Court confirmed the Debtor’s Plan of Reorganization (the “Plan”).




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          4.      Subsequently, the Debtor has undertaken those steps necessary to

   substantially consummate the confirmed Plan as provided under Section 1101(2) of Title

   11 of the United States Code (the “Bankruptcy Code”). More specifically, the Debtor has

   commenced distribution under the Plan. Each of the requirements under Section 1101(2)

   of the Bankruptcy Code is summarized below. There has been substantial consummation

   of the Plan confirmed by the Court on February 26, 2020. No property was required by

   the Plan to be transferred; the debtor has assumed the management of all the property

   dealt with by the plan; and the debtor has commenced distribution under the plan. Each of

   these three requirements under 11 USC §1101(2) is summarized below.

   I. Transfer of Property.

          The Plan proposes no transfers of property. Accordingly, all property transfers

   anticipated by the Plan have been completed.

   II. Assumption by Debtors of Management of Property.

          The plan provided for the debtor to stay in control of his assets after confirmation.

   Since the date of confirmation, the debtor has remained in control and has operated

   pursuant to the terms of the plan.

   III. Distributions.

          After the effective date, March 12, 2020, the Debtor commenced distributions

   under the plan. The Debtor has paid all administrative expenses that have come due

   (except for the final fee application of counsel for the Debtor, which is being heard

   concurrently with this Motion), has made all payments required on secured loans for

   property being retained (class C), and has commenced making payments on the Priority

   Tax claim in accordance with Plan provisions and in the Final Report attached hereto as

   Exhibit A. The Plan provides for payment of secured tax claims (Class B) after



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   completion of payments to Priority taxes. The Debtor asks for approval of his Final

   Report.

   MOTION FOR FINAL DECREE

             As indicated above, the Debtor has substantially consummated the Plan as

   provided under Section 1101(2) of the Bankruptcy Code. To the best of the Debtor’s

   knowledge, all allowed administrative claims have been paid, and the final administrative

   expenses, compensation of counsel for the Debtor and payment of the final U.S. Trustee

   fee for the present quarter, will be paid in conjunction with the approval of this motion.

   Debtor does not anticipate that there will be any further administrative claims sought by

   creditors. The Debtor has completed the transfer of all property to be transferred under

   the Plan. All pending motions, contested matters and adversary proceedings have been

   resolved or will be resolved prior to or concurrently with a hearing on this Motion. The

   Debtor will pay any outstanding quarterly fees to the Office of the United States Trustee

   through the third quarter of 2020 in conjunction with the Court’s approval of this motion.

             WHEREFORE, Debtor respectfully seeks entry of an Order by this Court: (i)

   approving the Debtor’s final report; (ii) granting the Debtor’s Motion for entry of a Final

   Decree in this case, and closing the case, subject to reopening for entry of a discharge;

   and (iii) for such further relief as the Court deems just and appropriate.

             Dated: September 3, 2020.
                                                     Respectfully submitted,

                                                     _/s/ Daniel M. Press_____________
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                                CERIFICATE OF SERVICE

         This is to certify that on this 3rd day of September, 2020, I caused the foregoing
   document to be served on the US Trustee and all persons requesting notice by CM/ECF.




                                                   _/s/ Daniel M. Press_____________
                                                        Daniel M. Press




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